Case 1:19-mc-00290-LPS Document 123 Filed 11/10/22 Page 1 of 2 PageID #: 3551




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



 OI EUROPEAN GROUP B.V.,

                           Plaintiff,
                   v.
                                                                C.A. No.: 19-mc-00290-LPS
 BOLIVARIAN REPUBLIC OF VENEZUELA,

                           Defendant.



                      PROPOSED FINDINGS OF FACT OF
               DEFENDANT BOLIVARIAN REPUBLIC OF VENEZUELA

              Pursuant to the Court’s Order entered in the above-captioned proceeding on

October 24, 2022, Defendant Bolivarian Republic of Venezuela agrees with the Proposed Findings

of Fact submitted by Intervenor Petróleos de Venezuela, S.A. (D.I. 122).
Case 1:19-mc-00290-LPS Document 123 Filed 11/10/22 Page 2 of 2 PageID #: 3552




                                        /s/ Stephen C. Childs
OF COUNSEL:                            A. Thompson Bayliss (#4379)
                                       Stephen C. Childs (#6711)
Sergio J. Galvis                       ABRAMS & BAYLISS
Joseph E. Neuhaus (pro hac vice)       20 Montchanin Road, Suite 200
James L. Bromley (pro hac vice)        Wilmington, Delaware 19807
SULLIVAN & CROMWELL LLP                Telephone: 302-778-1000
125 Broad Street                       Facsimile: 302-261-0292
New York, New York 10004               bayliss@abramsbayliss.com
Telephone: 212-558-4000                childs@abramsbayliss.com
Facsimile: 212-558-3588
galviss@sullcrom.com                   Attorneys for Defendant Bolivarian Republic of
neuhausj@sullcrom.com                  Venezuela
bromleyj@sullcrom.com

Judson O. Littleton
SULLIVAN & CROMWELL LLP
1700 New York Avenue, N.W. Suite 700
Washington, D.C. 20006
Telephone: 202-956-7500
Facsimile: 202-293-6330
littletonj@sullcrom.com

Dated: November 10, 2022




                                       2
